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AO 2456 (SCDC Rev.09/11) Judgment in a Criminal Case Sheet 1



                            UNITED STATES DISTRICT COURT! R£CEfV£O
                                               District of South Carolina                              usoe CLERK.CHARlESTON,SC
                                                                                                         2011 JAN 23 AH 8: 59
UNITED STATES OF AMERICA                                                 JUDGMENT IN A CRIMINAL CASE

         vs.
                                                                         Case Number: 2: 15-CR-00472-RMG (1)
DYLANN STORM ROOF
                                                                         USM Number: 28509-171

                                                                         DAVID 1. BRUCK, KIMBERL Y C. STEVENS,
                                                                         SARAH S. GANNETT, EMILY PAAVOLA, CJA
                                                                         Defendant's Attorneys
THE DEFENDANT:

o      pleaded guilty to count(s)_.
o      pleaded nolo contendere to count(s)                                   which was accepted by the court.
•      was found guilty on Count(s) 1 through 33 (Date of Verdict: 12115/2016) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:


Title & Section                                  Nature of Offense                         Offense Ended               Count
18 USC 249(a)(l)                                 Please see indictment                       6/17115                    01 - 09
18 USC 249(a)(1)                                 Please see indictment                       6/17/15                    10 - 12
18 USC 247(a)(2). 247(d)(I)                      Please see indictment                       6117/15                    13 - 21
18 USC 247(a)(2), 247(d)(I), 247(d)(3)           Please see indictment                       6/17/15                    22 - 24
18 USC 924(c)(I)(A), 924(c)(I)( C), 9240)(1)     Please see indictment                       6117/15                    25 - 33

         The defendant is sentenced as provided in pages 2 through 4 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D        The defendant has been found not guilty on count(s)_ _.
D        Count(s) _ D is Dare         dismissed on the motion of the United States.
D        Forfeiture provision is hereby dismissed on motion of the United States Attorney.

         It is ordered that the defendant must notifY the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notifY the court and United States attorney of any material changes in economic
circumstances.
                                                                               Janu'!!:Y 1.-"1>-,,2:::0:.=-1.:-7_~....--_.--c_ __
                                                                               DateOf Imposition of Judgment                      .----­



                                                                           Sign(i:kudge         ~
                                                                           RICHARD M. GERGEL, U.S. DISTRICT JUDGE
                                                                           Name and Title ofJudge   .


                                                                           Date'       '
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AO 2458 (SCDC Rev, 09111) Judgment in a Criminal Case
         Sheet 2· Imprisonment                                                                            Page 2


DEFENDANT: DYLANN STORM ROOF
CASE NUMBER: 2: 15-CR-00472-RMG-1

                                                             IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of:


Upon the jury's verdict, the defendant is sentenced to death on Counts 13 through 21 and 25 through 33.
(Continued on page 3).



o          The court makes the following recommendations to the Bureau of Prisons:




o          The defendant is remanded to the custody of the United States Marshal.


o          The defendant shall surrender to the United States Marshal for this district:
           Oat                        0 a.m. 0 p.m. on _ _ _ _ _ _ _ _ _ _ __
            o as notified by the United States Marshal.
o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:
            o before 2 p.m. on _ _ _ _ _ _ _ _ _ _ _ _'
            o as notified by the United States Marshal.
            o as notified by the Probation or Pretrial Services Office.
                                                                  RETURN
I have executed this Judgment as follows:


Defendant delivered on
                                    -----------------------"
--___________,_ ________________, with a certified copy of this judgment.

                                                                                     UNITED STATES MARSHAL


                                                                        By _ _~~~~~==~~==~~==~=_
                                                                               DEPUTY UNITED STATES MARSHAL
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AO 2458 (SCDC Rev. 09/11) Judgment in a Criminal Case
          Sheet 2A-lmprisonment                                                                           Page 3


DEFENDANT: DYLANN STORM ROOF
CASE NUMBER: 2:15-CR-00472-RMG-l


                                              ADDITIONAL IMPRISONMENT TERMS
As to Count 1, life imprisonment without the possibility of release.
As to Count 2, life imprisonment without the possibility of release, to be served consecutively to all prior terms
of imprisonment.
As to Count 3, life imprisonment without the possibility of release, to be served consecutively to all prior terms
of imprisonment.
As to Count 4, life imprisonment without the possibility of release, to be served consecutively to all prior terms
of imprisonment.
As to Count 5, life imprisonment without the possibility of release, to be served consecutively to all prior terms
of imprisonment.
As to Count 6, life imprisonment without the possibility of release, to be served consecutively to all prior terms
of imprisonment.
As to Count 7, life imprisonment without the possibility of release, to be served consecutively to all prior terms
of imprisonment.
As to Count 8, life imprisonment without the possibility of release, to be served consecutively to all prior terms
of imprisonment.
As to Count 9, life imprisonment without the possibility of release, to be served consecutively to all prior terms
of imprisonment.
As to Count 10 and 22, life imprisonment without the possibility of release, the sentences on these two counts to
be served concurrently with each other, but consecutively to all prior terms of imprisonment.
As to Count 11 and 23, life imprisonment without the possibility of release, the sentences on these two counts to
be served concurrently with each other, but consecutively to all prior terms of imprisonment.
As to Count 12 and 24, life imprisonment without the possibility of release, the sentences on these two counts to
be served concurrently with each other, but consecutively to all prior terms of imprisonment.




Defendant is committed to the custody of the Attorney General until the exhaustion of the procedures for appeal
of the judgment of conviction and for review of the sentences. See 18 U.S.C. Sec. 3596(a). When the sentence
of death is to be implemented, the Attorney General shall release the defendant to the custody of a United States
Marshal, who shall supervise the implementation of the sentence in the manner prescribed by the law of the
State in which the sentence is imposed. See 18 U.S.C. Sec. 3596(a).
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    AO 245B (SCDC Rev. 09/11) Judgment in a Criminal Case
             Sheet 4 - Criminal Monetary Penalties                                                                         Page 4

    DEFENDANT: DYLANN STORM ROOF
    CASE NUMBER: 2: 1S-CR-00472-RMG-I

                                                CRIMINAL MONETARY PENALTIES
    The defendant shall pay the total criminal monetary penalties under the schedule of payments on Sheet 5.

                       Assessment                                                                          Restitution

    TOTALS             $3,300.00


    o    The determination of restitution is deferred until _ _ _ _ _ _. An Amended Judgment in a Criminal Case(A0245C) will be
         entered after such determination.

    o    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
         otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.c, § 3664(i), all nonfederal
         victims must be paid before the United States is paid.

    Name of Payee                              Total Loss*                       Restitution Ordered                 Priority or Percentage




!




TOTALS                                        $-                                      $­




o        Restitution amount ordered pursuant to plea agreement

o        The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fme is paid in full before
         the fifteenth day after the date ofjudgment, pursuant to 18 U.S.c, §3612(f). All of the payment options on Sheet 5 may be subject
         to penalties for delinquency and default, pursuant to 18 U.S.c, §3612(g).

o        The court determined that the defendant does not have the ability to pay interest and it is ordered that:
             o        The interest requirement is waived for the 0 fine 0 restitution.
             o        The interest requirement for the 0 fine 0 restitution is modified as follows:

**Findings for the total amount oflosses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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AO 245B (SCDC Rev. 9/11) Judgment in a Criminal Case
     Sheet 5 - Schedule of Payments                                                                                         Page 5

DEFENDANT: DYLANN STORM ROOF
CASE NUMBER: 2: lS-CR-004 72-RMG-l

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A     •     Lump sum payment of$3,300.00 special assessment fee due immediately.

            D   not later than
                                 ------------------------, or
            o   in accordance with      0   C,   0     D, or   0   E, or   F below: or

B     0     Payment to begin immediately (may be combined with             0   C,      D, or   D   F below); or


C     0     Payment in equal                (weekly, monthly, quarterly) installments of$                    over a period of _ _ __
            (e.g., months or years), to commence                     (30 or 60 days) after the date ofthisjudgment; or


D     0      Payment in equal                    (weekly, monthly, quarterly) installments of$                  over a period of
            ____(e.g., months or years), to commence                 (30 or 60 days) after release from imprisonment to a term of
            supervision; or

E     0     Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment.
            The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
F     0     Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Imnate
Financial Responsibility Program, are made to the clerk of court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

o     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




o     The defendant shall pay the cost of prosecution.
o     The defendant shall pay the following court cost(s):
o     The defendant shall forfeit the defendant's interest in the following property to the United States:

As directed in the Preliminary Order of Forfeiture, filed _______ and the said order is incorporated herein as part of this judgment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fme interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
